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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11
    Desolation Holdings LLC, et al.,1                       Case No. 23-10597 (BLS)

             Debtors.                                       (Jointly Administered)

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             SUPPLEMENTAL DECLARATION OF EVAN HENGEL IN SUPPORT OF
                   MOTION FOR ENTRY OF AN ORDER AUTHORIZING
                     DEBTORS TO WITHHOLD OR OMIT CERTAIN
                           CONFIDENTIAL INFORMATION

             I, Evan Hengel, Co-Chief Restructuring Officer of Bittrex Inc. (“BUS”), Desolation

Holdings LLC (“Desolation”), Bittrex Malta Holdings Ltd. (“Malta Holdings”) and Bittrex Malta

Ltd. (“Malta OpCo”) (collectively, the “Debtors”), hereby declare under penalty of perjury:

             1.    I am a Managing Director at Berkeley Research Group, LLC (“BRG”) with over

16 years of experience working in distressed situations and transactions, including several

involving crypto firms such as Voyager Digital Holdings, Inc., BlockFi, Inc., SALT Lending, and

Genesis Global Holdco, LLC. I serve as the CRO of the Debtors. Accordingly, I am in all respect

competent to make this declaration (the “Declaration”).

             2.    Except as otherwise indicated herein, the facts set forth in this Declaration are based

upon my personal knowledge, my review of relevant documents, information provided to me by

the professionals in this case and/or employees working under my supervision, or my opinion

based upon my experience, knowledge, and information concerning the Debtors’ operations. I am




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
      number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
      Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
      WA 98104.

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authorized to submit this Declaration on the Debtors’ behalf. If called upon to testify, I would

testify competently to the facts set forth in this Declaration.

                       THE CONFIDENTIAL INFORMATION MOTION

        3.      On the Petition Date,2 the Debtors filed Debtors’ Motion Seeking Entry of Interim

and Final Orders (I) Authorizing the Debtors to (A) Maintain a Consolidated List of Creditors,

(B) File a Consolidated List of the Debtors’ Fifty Largest Unsecured Creditors, and (C) Withhold

or Omit Certain Confidential Information, (II) Establishing Procedures for Notifying the Parties

of Commencement, and (III) Granting Related Relief [D.I. 5] (the “Confidential Information

Motion” or the “Motion”), and the Declaration of Evan Hengel, Co-Chief Restructuring Officer of

the Debtors, in Support of Chapter 11 Petitions and First Day Motions [D.I. 11] (the “Hengel

Declaration” or the “First Day Declaration”).

        4.      Through the Confidential Information Motion, the Debtors sought the following

“Relief.” Pursuant to sections 105(a) and 107(b)(1) and (c)(1) of title 11 of the United States Code

(the “Bankruptcy Code”), the Debtors requested authority to withhold or omit, in any Filings with

the Court or made publicly available in these Chapter 11 Cases, (a) customers’ names, physical

addresses, email addresses and any other contact information; and (b) the names, physical

addresses, email addresses, and any other contact information of other creditors and employees (i)

who are natural persons and (ii) reside in the United States or are otherwise protected by the GDPR

(the “Confidential Information”). Moreover, the Debtors asked the Court to authorize the Claims

and Noticing Agent to (a) suppress from the claim register the Confidential Information of

Debtors’ customers and individual creditors residing in the United States or otherwise protected




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Confidential
    Information Motion.



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by the GDPR; and (b) file affidavits of service omitting the Confidential Information of the

Protected Parties, provided that the Claims and Noticing Agent serves them at their physical

addresses and email addresses, as necessary.

       5.      Further, in the Motion, the Debtors stated their intention to provide, for each

customer, the related Account ID (referred in the Motion as UUID) in lieu of the Confidential

Information in any relevant Filings. In the Debtors’ view, the insertion of the Account IDs is the

most appropriate means to (a) protect customers’ financial and physical safety, on one hand; and

(b) allow customers to easily and quickly identify their inclusion in any relevant Filings of the

Chapter 11 Cases, on the other hand.

       6.      At the hearing on the first day motions, held on May 10, 2023, the United States

Trustee for the District of Delaware (“U.S. Trustee”) objected to the Relief with respect to the

disclosure of names. Over the U.S. Trustee’s objection, the Court granted the Relief through an

interim order [D.I. 37] (the “Interim Order”). Pursuant to the Interim Order, the Debtors shall

provide versions of any Filings containing the names and other omitted information of customers,

other creditors, and employees to (a) upon request, the U.S. Trustee and any official committee

appointed in the Chapter 11 Cases, and (b) upon further order of the Court, any other party.

Moreover, the Interim Order provides that, upon request of a party in interest, the Court may, upon

a showing of good cause, release some or all of the information that is being withheld or omitted.

       7.      On May 12, 2023, the Debtors filed Debtors’ Motion for Entry of an Order

Authoring the Debtors to Honor Withdrawals of Cryptocurrency Assets by Customers [D.I. 43]

(the “Withdrawals Motion”). Specifically, through the Withdrawals Motion, the Debtors seek an

order from the Court permitting customers to withdraw their deposits of cryptocurrencies and fiat




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currency (the “Withdrawals Order”). The hearing to consider approval of the Withdrawals Order

is scheduled for June 14, 2023.

       8.     On May 19, 2023, Azim Ghader (“Mr. Ghader”), an Iranian and Dominican

Republic citizen residing in Turkey, asked the court to deny the Motion to help “customers from

OFAC-sanctioned countries and jurisdictions” to “recover their [allegedly] unfairly lost assets”

[D.I. 60] (the “Ghader Objection”). Based on the Debtors’ investigation, Mr. Ghader is not one of

the Debtors’ customers; he is a customer of non-debtor Bittrex (Global) Bermuda Ltd. (“BGB”).

       9.     On May 25, 2023, the Securities and Exchange Commission (“SEC”), asked the

Debtors to amend paragraph 7 of the proposed Final Order to include the SEC among the parties

entitled to receive unredacted information upon request (the “SEC Request”). The Debtors have

agreed to include the SEC Request in any amended proposed Final Order.

       10.    On June 2, 2023, the U.S. Trustee filed the United States Trustee’s Objection to the

Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)

Maintain a Consolidated List of Creditors, (B) File a Consolidated List of the Debtors’ Fifty

Largest Unsecured Creditors, and (C) Withhold or Omit Certain Confidential Information, (II)

Establishing Procedures for Notifying the Parties of Commencement, and (III) Granting Related

Relief [D.I. 70] (the “UST Objection,” and together with the Ghader Objection, the “Objections”).

       11.    On June 5, 2023, BUS and Malta OpCo filed their schedules [D.I. 87 and 91], which

include thousands of pages providing Account IDs in lieu of customers’ names, addresses and

other contact information.

       12.    I submit this Declaration in support of the Reply in Support of filed Debtors’ Motion

Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain a

Consolidated List of Creditors, (B) File a Consolidated List of the Debtors’ Fifty Largest




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Unsecured Creditors, and (C) Withhold or Omit Certain Confidential Information, (II)

Establishing Procedures for Notifying the Parties of Commencement, and (III) Granting Related

Relief.

                THE NEED TO REDACT THE CONFIDENTIAL INFORMATION

          13.    In these Chapter 11 Cases, including through the Confidential Information Motion,

the Debtors are taking steps to maximize value for the benefit of creditors and, at the same time,

minimize the deleterious effects that the cases could have on the their customers, and other

individual creditors and employees (collectively, the “Protected Parties”).

          14.    Continuing to prevent the disclosure of the Confidential Information is critical for

(a) preserving the value of the Debtors’ assets; (b) safeguarding the property, safety and privacy

of the Protected Parties; and (c) avoiding the administrative and financial burden that phishing and

other malicious conduct against the Protected Parties would cause to the Debtors, especially if the

Withdrawals Order is granted. The Debtors understand and fully appreciate the public policy of

transparency in the bankruptcy process.          However, the circumstances of cryptocurrency

bankruptcy cases, such as the Debtors’ Chapter 11 Cases, present concrete and serious risks to the

Debtors’ estates, customers, and the other Protected Parties. To the extent that the there is any

benefit in a publication of the Confidential Information, such benefit is vastly outweighed by the

harm that may bring upon the Debtors’ estates and the Protected Parties. Thus, I believe the Relief

that the Debtors requested in the Confidential Information Motion, coupled with the Account IDs’

disclosure, strike an appropriate balance between transparency and an increased need for

protection.




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I.     Confidential Information relating to Customers Is a Valuable Asset Requiring
       Protection under Section 107(b) of the Bankruptcy Code

       15.     Debtor BUS has over 1.2 million customers overall (i.e., with and without a balance

in the respective accounts), including approximately 2,000 individual customers who, based on the

Debtors’ records, are EU or UK nationals reside in the EEA. Debtor Malta OpCo, in turn, has more

than 400,000 individual customers overall (i.e., with and without a balance in the respective

accounts).

       16.     All these customers (collectively, the “Customer Base”) shared with the Debtors

valuable and sensitive Confidential Information with an expectation that the Debtors would protect

the confidentiality of the data provided to the maximum extent possible. For example, the

collected customer information is subject to a privacy policy (the “Privacy Policy”), which is

attached hereto as Exhibit A. While the Privacy Policy details circumstances in which certain

client information may be disclosed, the Privacy Policy does not provide, and the Debtors’

customers have never consented to an unrestricted public disclosure of their personally identifiable

information that would occur if their names and account balances were published via CM/ECF.

       17.     The Debtors took extensive measures to protect customers’ Confidential

Information, including through non-disclosure and non-compete agreements with their employees,

preventing the latter from disclosing customer’s Confidential Information to third parties. For

example, a recent version of BUS’ Non-Disclosure, Non-Compete, and Invention Agreement,

attached hereto as Exhibit B, explicitly protects customer information requiring employees to

maintain the confidentiality of such information. It is common knowledge that, in general,

businesses take thorough measures to protect the identity of their customers. That said, I believe

that the widespread implementation of measures to keep customers’ information confidential is




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evidence that their identity is a very important value component to the Debtors and most

businesses.

        18.     In the recent past, certain third parties have shown interest in the acquisition of the

Debtors’ customer list, which is further demonstration that customers’ Confidential Information is

a valuable asset of the Debtors. While the Debtors’ focus centers on winding down its U.S.

operations, monetizing the Customer Base remains a viable source of value for creditors.

        19.     In addition, from an accounting perspective, it is well established that customer

information such as names and contact information, commonly referred as customer lists, are

separately valued intangible assets of an entity. The Financial Accounting Standards Board

(“FASB”)—an independent organization that establishes financial accounting and reporting

standards for public and private companies and not-for-profit organizations that follow Generally

Accepted Accounting Principles (“GAAP”)—provides guidance regarding the recognition of

different categories of customer-related intangible assets acquired in a business combination in

Accounting Standard Codification (“ASC”) 805. The guidance in ASC 805-20-25-31 states:

“Customer-related intangible assets that would meet that criterion for recognition under this

accounting alternative are those that are capable of being sold or licensed independently from the

other assets of a business. . . . Customer-related intangible assets that may meet that criterion for

recognition include but are not limited to: . . . Customer information (for example, names and

contact information).”3

        20.     Financial valuation literature supports the concept that customer lists constitute

assets on a company’s balance sheet with an inherent and potentially significant value as long as

its confidentiality is preserved. For example, in Intangible Assets: Valuation and Economic


3
    FASB ASC 805-20-25-31, https://asc.fasb.org/1943274/2147480013 (last visited on June 5, 2023).



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Benefit, valuation expert Jeffrey A. Cohen observed that “[a] customer list . . . might qualify as

trade secrets, provided that there is value in the fact [it] remain[s] unknown to the competition—

that is, that [it] provide[s] independent economic value, and that there is some evidence that their

owners actually try to keep [it] secret.”4 As shown in ¶ 18, the Debtors have indeed sought to keep

their customer lists private.

          21.      The Debtors are committed to enhancing the value of their estates, a crucial aspect

of which, in these early phases of the Chapter 11 Cases, involves preserving undisclosed

customers’ Confidential Information. I believe that exposing this information to the public in the

course of these Chapter 11 proceedings would significantly devalue or erode its substantial worth.

    II.         Disclosure of the Confidential Information Creates an Extreme Risk of Harm that
                Section 107(c) of the Bankruptcy Code Was Designed to Protect

          22.      Shielding, to the maximum extent possible, the Protected Parties from the concrete

and serious risks stemming from these Chapter 11 Cases forms the core of the Debtors’ goals for

these Chapter 11 Cases. The disclosure of the names and other Confidential Information of the

Protected Parties will result in “phishing” attempts, extortion or other personal threats, or other

impermissible conduct, while providing no apparent benefit to the general public.

          23.      Cryptocurrencies facilitate instantaneous transfer of value and, as such, bad actors

often target cryptocurrency holders for scams. Although the Bittrex exchange itself has not been

hacked thanks to its state-of-the-art security features, in the past there have been more than 730

separate events where customers reported that their login credentials were compromised and used

to remove funds from customers’ accounts. Imposters have regularly used accounts on social

media presenting themselves as Bittrex representatives in order to deceive customers. Also, I am



4
    JEFFREY A. COHEN, INTANGIBLE ASSETS: VALUATION AND ECONOMIC BENEFIT 17 (2005).



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aware of phishing websites that appeared on Google and other search engines when searching for

“Bittrex” (see picture in the following page). When customers clicked on links to these phishing

websites, they were tricked into providing their login credentials, which the phishing site owners

immediately used to log into the Bittrex platform and conduct trades or withdraw funds from the

Bittrex accounts.




       24.     Now, if customers’ names and other Confidential Information is disclosed in these

Chapter 11 Cases to the general public, scammers will attempt to defraud and steal from customers,

including in the circumstance where the Withdrawal Motion is granted and customers are

authorized to withdraw cryptocurrency and fiat from their Bittrex accounts. To be clear, not only

individual customers but also entity customers run an equal risk of injury if their Confidential

Information is disclosed in these Chapter 11 Cases. As for individual customers, scammers can

easily find online information relating to employees or directors of entity customers (e.g., through




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LinkedIn and other social media), making entity customers an equally appealing target for

malefactors.

        25.      One need look no further than the pending cryptocurrency case in the Southern

District of New York, In re Celsius Network, LLC (“Celsius”) (the “Celsius Case”). In the Celsius

Case, the court ordered the disclosure of (a) the names of individual customers (but also those of

other creditors and employees); and (b) the names, physical addresses, and email addresses of

customer entities (as well as, more in general, of any business entity). Since then, scammers have

been able to repeatedly contact and harass Celsius customers in order to steal,5 and for individual

customers, they were able to do so based solely on the disclosure of names. In certain cases, bad

actors tried to connect with Celsius customers over messaging applications, but, in other cases,

they also used more sophisticated means, including impersonating Celsius legal counsel or claims

agent, and using a fake court order. Celsius Case’s filings related to these phishing scams are

attached hereto as Exhibit D.

        26.      Through a disclosure of the names and other Confidential Information, individual

customers, and employees and directors of entity customers may not only risk a financial injury,

but also be exposed to threats to their physical integrity, including kidnapping, torture, and other

types of violent aggressions.6 For example, in 2017, a group of criminals reportedly murdered a


5
    Vince Sullivan, Celsius Ch. 11 Creditors Hit with Crypto Phishing Attacks, LAW360 (Dec. 1, 2022),
    https://www.law360.com/articles/1554186/celsius-ch-11-creditors-hit-with-crypto-phishing-attacks (reporting
    that Celsius customers were subject to phishing attacks by scammer pretending to be Celsius’ bankruptcy
    counsel), attached hereto as Exhibit C.
6
    Afkar Ali Ahmed, Dubai: Dh4 million stolen from Bitcoin trader; 9 people jailed, KHALEEJ TIMES (Oct. 3, 2022),
    https://www.khaleejtimes.com/crime/dubai-dh4-million-stolen-from-bitcoin-trader-9-people-jailed        (reporting
    that a gang of 9 people stole over $1 million of assets from the owner of a Bitcoin trading company who was
    assaulted while he was at work), attached hereto as Exhibit E; Samantha Dunn, Crypto Investor Kidnapped And
    Forced To Hand Over Keys To Wallet, CRYPTODAILY (Nov. 15, 2021), https://cryptodaily.co.uk/2021/11/crypto-
    investr-kidnapped-forced-to-hand-over-keys-to-wallet (reporting the kidnapping and torturing of a
    cryptocurrency trader who was forced to give up his cryptocurrency keys to criminals), attached hereto as Exhibit
    F; Ed Browne, Bitcoin Millionaire Zaryl Dentzel Says He Was Beaten, Had Fortune Stolen in Masked Robbery,



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Bittrex client, who was “beaten and suffocated” to “obtain the victim’s password for Bitcoin

transactions.”7 Moreover, as a consequence of disclosure of their names and other Confidential

Information, these individuals could be the targets of unwanted doxing attacks, as well as suffer

emotional distress as a consequence of a malicious use of their data.8 The Debtors’ employees and

other individual creditors are not spared from these same risks if their Confidential Information is

disclosed in these Chapter 11 Cases.9



    NEWSWEEK (Nov. 3, 2021), https://www.newsweek.com/bitcoin-millionaire-zaryn-dentzel-beaten-fortune-
    stolen-masked-robbery-cryptocurrency-1645550 (reporting of an investigation in the violent robbery of an
    entrepreneur who was forced to reveal to criminals breaking in his home the password to an online account that
    contained Bitcoins), attached hereto as Exhibit G; Jaime Redman, London College Student Robbed at Knifepoint
    by 8 Thugs for $93K in Bitcoin, BITCOIN.COM (Sept. 25, 2021), https://news.bitcoin.com/london-college-student-
    robbed-at-knifepoint-by-8-thugs-for-93k-in-bitcoin (reporting of a knifepoint robbery where a student was
    targeted because of his cryptocurrency holding and he was forced to reveal related credentials and passwords),
    attached hereto as Exhibit H; Anthony Cuthbertson, Bitcoin trader brutally tortured with drill in cryptocurrency
    robbery, INDEPENDENT (Mar. 5, 2019), https://www.independent.co.uk/tech/bitcoin-robbery-torture-
    cryptocurrency-netherlands-a8807986.html (reporting that a cryptocurrency trader was tortured by criminals who
    raided his home in an attempt to steal cryptocurrency from him), attached hereto as Exhibit I; Suspect charged
    in      bitcoin    heist,    police      hunt    2      others,      CBC      NEWS      (Jan.      24,    2018),
    https://www.cbc.ca/news/canada/ottawa/robbery-ottawa-search-bitcoin-1.4501719 (reporting that three armed
    robbers held up the employees of a Bitcoin financial institution, bounding four employees and striking one on the
    head with a gun), attached hereto as Exhibit J.
7
    Family seeks Bitcoin of man who was killed for virtual currency in Turkey’s Antalya, HURRIYET DAILY NEWS
    (Dec. 16, 2017), https://www.hurriyetdailynews.com/family-seeks-bitcoins-of-man-who-was-killed-for-virtual-
    currency-in-turkeys-antalya-124778 (reporting the murder of a young man in Turkey to steal his crypto assets),
    attached hereto as Exhibit P. Moreover, following the death of Bittrex’s customer, several bad actors contacted
    Bittrex pretending to be the victim’s heirs.
8
    Erika Harrell, Victims of Identity Theft, 2018, BUREAU OF JUSTICE STATISTICS (Apr., 2021), at 11,
    https://bjs.ojp.gov/library/publications/victims-identity-theft-2018 (providing statistics on the percentage of
    victims suffering forms of emotional distress following a misuse of their accounts and other misconduct related
    to identity theft), attached hereto as Exhibit K; Doxing in 2022: An Unexpectedly Widespread Cybersecurity
    Threat, SAFEHOME.ORG TEAM (Apr. 6, 2022), https://www.safehome.org/family-safety/doxxing-online-
    harassment-research/ (stating, among other things: “Publishing a name may not seem overtly threatening, but
    when attached to unsavory allegations and accompanied by additional info, the potential for dark results grows
    greater. [Doxing] attacks impacted personal lives 86% of the time, specifically involving online harassment,
    public shaming, lost friendships, family harassment, and online distribution of photos.” ), attached hereto as
    Exhibit L.
9
    Olivia Capozzalo, Director of UK-Based Crypto Exchange Kidnapped in Kiev, COINTELEGRAPH (Dec. 27, 2017),
    https://cointelegraph.com/news/director-of-uk-based-crypto-exchange-kidnapped-in-kiev (reporting how the
    director of a cryptocurrency exchange was kidnapped while leaving his office), attached hereto as Exhibit M;
    See In re Charming Charlie Holdings, Inc., 19-11534 (CSS) (Bankr. D. Del. Jul. 11, 2019), D.I. 4 (describing
    how, in the debtors’ prior chapter 11 cases, the abusive former partner of an employee of the debtors misused the
    publicly accessible creditor and employee information filed in the cases to find the employee at her new address
    not publicly available until then, forcing the employee to change addresses again).



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       27.     A disclosure of the Confidential Information, coupled with identity theft and related

scams, would not only be detrimental to the Protected Parties, but also to the Debtors. In prior

experience, compromised customer accounts resulted in a diversion of the Debtors’ resources to

interdiction, resolution and recovery of customer accounts, or, in some cases, controversies over

relative fault over identity theft and customer account loss. At this delicate stage of these cases,

Debtors intend to reopen their platform for customer withdrawals which will, in and of itself, create

massive customer account resolution issues given that most of the remaining customers have one

or more issues with KYC compliance or updated account information which will need to be

resolved to facilitate the winding down of the U.S. platform and operations.

       28.     If the customers’ account information were publicized now, processing customer

withdrawals would become fraught with identity theft concerns that would increase the costs to

the Debtors of processing customer withdrawal requests. What would be a moderately difficult

situation would become a bad actor free-for-all that would exhaust the Debtors’ limited resources

and exponentially increase the costs to the estate. In the unfortunate event that identity theft bad

actors succeeded in compromising multiple customers’ accounts, the risk of administrative and

additional customer claims for breach of the Debtors’ privacy policy also increases exponentially.

Suffice to say, processing post-petition claims for compromised customer accounts would create

needless administrative burdens on this Court as well as the Debtors and their professionals.

       29.     Finally, the risk for the Debtors of violating the GDPR and incurring heavy fines

should not be underestimated. Exemplative of this is the May 2023 decision by which Ireland’s

Data Protection Commission fined Meta Platform Ireland approximately $1.3 billion for infringing




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the EU GDPR in connection with the transfer of data of EU Facebook users to the United States.10

         30.      All the above considered, I believe that a disclosure of the Confidential Information

unnecessarily harms or, in any case, causes a concrete and serious risk of injury to the customers

and the other Protected Parties as well as these chapter 11 estates. This risk can be minimized by

granting the Relief respectfully requested by the Debtors, which is authority to withhold or omit,

in any Filing with the Court or made publicly available in these Chapter 11 Cases, (a) customers’

names, physical addresses, email addresses and any other contact information; and (b) the names,

physical addresses, email addresses, and any other contact information of other creditors and

employees (i) who are natural persons and (ii) reside in the United States or are otherwise protected

by the GDPR.



         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

         Executed this 6th day of June, 2023.

                                                                      _/s/ Evan Hengel______________
                                                                      Evan Hengel
                                                                       Co-Chief Restructuring Officer




10
     Allison Grande, Meta’s €1.2B EU Fine Raises Stakes for US Data Transfer Deal, LAW360 (May 22, 2023),
     https://www.law360.com/articles/1680244 (reporting of “European data protection authorities' record-setting
     privacy fine against Meta Platforms”), attached hereto as Exhibit N; Data Protection Commission, In the matter
     of Meta Platforms Ireland Limited (previously known as Facebook Ireland Limited), Decision of the Data
     Protection Commission made pursuant to Section 111 of the Data Protection Act, 2018 and Articles 60 and 65 of
     the General Data Protection Regulation, Case No. IN-20-8-1 (May 12, 2023), attached hereto as Exhibit O.



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